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                                     UNITED STATES DISTRICT COURT
                                    CENTRAL DISTRICT OF CALIFORNIA
                                       CIVIL MINUTES—GENERAL

   Case No.         CV 17-8937 DMG (FFMx)                                             Date     July 22, 2019

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   Present: The Honorable            DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

                     KANE TIEN                                                        NOT REPORTED
                     Deputy Clerk                                                      Court Reporter

       Attorneys Present for Plaintiff(s)                                   Attorneys Present for Defendant(s)
                None Present                                                          None Present

  Proceedings: IN CHAMBERS - ORDER RE DEFENDANTS’ MOTION FOR A BOND
               [57-1]

          This matter is before the Court on a Motion for a Bond filed by Defendants Cloud Imperium
  Games Corporation (“CIG”) and Roberts Space Industries Corporation (“RSI”) pursuant to
  California Civil Procedure Code Section 1030. [Doc. # 57-1 (“Motion” or “Motion for Bond”).]
  For the following reasons, the Court GRANTS Defendants’ Motion.

                                                      I.
                                                 BACKGROUND1

          Plaintiff Crytek GmbH (“Crytek”) is a German corporation that operates as a “video game
  developer, publisher, and technology provider.” Second Amended Complaint (“SAC”) [Doc. #
  39] at ¶¶ 2, 6. 2 On November 12, 2012, Crytek entered into a Game License Agreement (“GLA”)
  with Defendants CIG and RSI, Delaware corporations that have principal places of business in Los
  Angeles, California. SAC at ¶¶ 7, 15-16. Under the GLA, Defendants were to pay a licensing fee
  to use Crytek’s video game engine, called CryEngine. SAC at ¶¶ 15-16. Plaintiff claims that
  Defendants’ subsequent conduct violated the GLA and asserts claims for breach of contract and
  copyright infringement against them. SAC at ¶¶ 53-67. In previous Orders, the Court dismissed
  two separate theories that the GLA prohibited CIG from using any game engine other than
  CryEngine. See [Doc. ## 38, 49]. The operative SAC now only asserts claims for breach and
  copyright infringement stemming from: (1) CIG’s use of CryEngine in its Squadron 42 game, (2)
  CIG’s failure to timely deliver “bug fixes and optimizations” to Plaintiff, (3) CIG’s decision to
  remove copyright and trademark notices crediting Crytek in association with CIG’s Star Citizen
  game, and (4) the alleged disclosure of CryEngine source code in online videos that CIG publicly
  released.

           1
            The Court set forth a full factual background in its Order resolving Defendants’ Motion to Dismiss or Strike
  [Doc. # 38]. The Court incorporates that background by reference in this Order.
           2
               All page references herein are to page numbers inserted by the CM/ECF system.

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          On March 29, 2019, Defendants filed the Motion for Bond, requesting that the Court
  require Crytek to post a security in the amount of $2,193,298.45. The Motion is now fully briefed.
  [Doc. # 73 (“Opp.”), 74 (“Reply”).]

                                                II.
                                         LEGAL STANDARD

          While the Federal Rules of Civil Procedure do not have a “specific provision . . . relating
  to security for costs,” district courts “have inherent power [and discretion] to require plaintiffs to
  post security for costs.” Simulnet E. Assocs. v. Ramada Hotel Operating Co., 37 F.3d 573, 574
  (9th Cir. 1994). The question of whether to impose a bond requires district courts to look to the
  forum state’s law. Id. (“Typically federal courts, . . . follow the forum state’s practice with regard
  to security for costs . . . .”); see also Pittman ex rel. L.P. v. Avish P'ship, 525 F. App'x 591, 593
  (9th Cir. 2013). The California Civil Procedure Code permits courts to require “an undertaking to
  secure an award of costs and attorney’s fees” from a plaintiff. Cal. Civ. Proc. Code § 1030(b). A
  defendant may move for such an undertaking when: (1) “plaintiff resides out of the state or is a
  foreign corporation” and (2) “there is a reasonable possibility that the moving defendant will obtain
  judgment in the action or special proceeding.” Id. A defendant does not need to show that there
  is “no possibility” that the plaintiff could win at trial, “but only that it [is] reasonably possible”
  that the defendant will win. Baltayan v. Estate of Getemyan, 90 Cal. App. 4th 1427, 1432 (2001).

          This hurdle is a “relatively low” one. AF Holdings LLC v. Navasca, 2013 WL 450383, at
  *1 (N.D. Cal. Feb. 5, 2013). Although district courts have suggested the standard is not so
  generous “as to require every out-of-state litigant who brings a non-frivolous suit in California to
  post a bond,” see, e.g., Circle Click Media LLC v. Regus Mgmt. Grp. LLC, No. 3:12-CV-04000-
  SC, 2015 WL 6638929, at *16 (N.D. Cal. Oct. 30, 2015), the Ninth Circuit has held that district
  courts do not abuse their discretion by requiring a security when it would not be “illogical,
  implausible, or without support in the record to conclude that there [is] a reasonable possibility
  that [the defendant] would prevail” and be entitled to fees and costs. Pittman, 525 F. App'x at 593.

          Courts should also “balance several factors in assessing the propriety of requiring a plaintiff
  to post security for costs, including whether the litigation has ‘the appearance of vexatiousness’
  and:

              (i) the degree of probability/improbability of success on the merits, and the
              background and purpose of the suit; (ii) the reasonable extent of the security
              to be posted, if any, viewed from the defendant's perspective; and (iii) the
              reasonable extent of the security to be posted, if any, viewed from the
              nondomiciliary plaintiff’s perspective.”

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  A. Farber & Partners, Inc. v. Garber, 417 F. Supp. 2d 1143, 1146 (C.D. Cal. 2006) (citing
  Simulnet, 37 F.3d at 576).3

                                                           III.
                                                       DISCUSSION

          While Plaintiff, a company based in Germany, unquestionably qualifies as a foreign
  corporation, the parties dispute whether Defendants can show a reasonable possibility of prevailing
  on the merits of Plaintiff’s remaining claims and whether Defendants have requested too large a
  bond. The Court concludes that Defendants have a reasonable possibility of prevailing, but that
  Plaintiff need only post a fraction of the bond Defendants seek.

  A.       Reasonable Possibility of Judgment in Defendants’ Favor

          The GLA entitles parties that prevail in litigation arising out of the contract to attorneys’
  fees and costs. GLA [Doc # 57-3] at ¶ 10.8. In the breach of contract context, the prevailing party
  is the “the party who recovered a greater relief in the action on the contract.” Cal. Civ. Code §
  1717(b)(1). The Court must therefore take into account the fact that the Court has already
  dismissed two of Plaintiff’s key breach of contract theories.4 Defendants have also demonstrated
  a reasonable possibility that they will prevail on Plaintiff’s remaining claims.

          Defendants first argue that they are likely to defeat Plaintiff’s claim that the GLA
  prohibited Defendants from using CryEngine to develop Squadron 42. Given that the GLA
  explicitly grants Defendants the right to “exclusively embed CryEngine in the Game and develop
  the Game,” see GLA at ¶ 2.1.2, and defines “the Game” as Space Citizen and Squadron 42
  “together,” see id at 2, Defendants’ success on this claim is at least reasonably possible.

          Defendants next contend that they took action that satisfied their contractual obligation to
  deliver certain “bug fixes” to Plaintiff “annually.” Motion for Bond at 17. Plaintiff makes
  alternative arguments that CIG’s actions did not qualify as annual delivery and that CIG eventually
  delivered the bug fixes after this lawsuit began, a development which amounts to a win on this
  issue for Plaintiff. Opp. at 8-9. Answering whether, as a factual matter, CIG met its obligation to
  deliver bug fixes annually will require the Court to answer fact questions inappropriate for

           3
               The Court shall refer to these factors as the Simulnet factors.
           4
            Nothing in this Order shall be construed as a final decision on which party has prevailed or will prevail as
  a matter of fact. The Court only analyzes here whether Defendants have a reasonable possibility of making such a
  showing.

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  resolution at this time. It will also require the Court to decide whether the GLA’s language renders
  moot the parties’ jostling over whether and when CIG would deliver the fixes. The fact that either
  result appears reasonably possible at this stage counsels in favor of requiring a bond.

          Even if the Court eventually decides that CIG’s delivery of the bug fixes after this litigation
  began qualifies as a positive result for Plaintiff, the Court would likely look at that result in the
  context of the litigation as a whole. See Berkla v. Corel Corp., 302 F.3d 909, 920 (9th Cir. 2002)
  (“a court is entitled to look at more than the issue of liability in determining prevailing party status,
  and to evaluate litigation success in light of the party's overall demands and objectives.”). In light
  of the Court’s dismissal of previous claims and the reasonable possibility of success on the claims
  the Court discusses herein, Plaintiff’s potential victory on this issue is not enough to compel the
  conclusion that Defendants stand no reasonable chance of prevailing in the end.

          Plaintiff also claims that Defendants breached the GLA by removing from Star Citizen
  copyright and trademark notices that indicated that CIG used CryEngine to develop the game.
  Defendants respond that they no longer need to use such notices because they switched from
  Plaintiff’s game engine to Amazon’s Lumberyard game engine. Motion for Bond at 19;
  Freyermuth Decl. [Doc. # 57-2] at ¶ 27 (stating that by the time CIG switched the notices, “CIG
  had already entered into, and was developing both Star Citizen and Squadron 42 under CIG’s
  license agreement with Amazon.”). Plaintiff does not dispute that the switch occurred, but
  contends that Defendants should have credited Plaintiff nonetheless because Amazon based
  Lumberyard largely on CryEngine source code after Plaintiff sold the the code to Amazon. Opp.
  at 8. The effect of the similarities in the CryEngine and Lumberyard source code is a merits issue
  that the Court need not resolve now. It is enough for the Court to decide that the evidence before
  it indicates that CIG switched the copyright and trademark notices only after it began using
  Lumberyard instead of CryEngine. Defendants therefore stand a reasonable possibility of success
  on this claim.

           Finally, in response to Plaintiff’s claims relating to the alleged unauthorized disclosure of
  Crytek’s code, Defendants aver that the disclosure in the “Bugsmashers” videos caused no damage
  to Crytek because Crytek had already made a substantial amount of its code publicly available.
  Motion for Bond at 21. Indeed, the record shows that Plaintiff made CryEngine publicly available
  on a “pay what you want” basis, allowing users to access the platform without necessarily paying
  anything. [Doc. ## 52-45, 52-46.] Plaintiff does not dispute this evidence. Since proving breach
  of contract requires Plaintiff to show that the purported breach actually caused damages, the fact
  that its source code was publicly available before CIG released its Bugsmashers videos is enough
  for the Court to conclude that Defendants have a reasonable possibility of success on this claim.


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  B.       The Simulnet Factors

          The first Simulnet factor—whether the litigation appears vexatious—does not have much
  of an effect on this case. Defendants argue that Plaintiff once claimed that CIG’s co-founder
  Ortwin Freyermuth, “an attorney who previously represented Crytek on unrelated transactional
  matters, engaged in a conflict of interest by negotiating the GLA on behalf of CIG.” But they also
  state that Plaintiff withdrew that claim when CIG produced a valid conflict waiver. Motion for
  Bond at 6. While the conflict of interest claim was ill-fated, Plaintiff withdrew it when faced with
  the reality of the waiver. That is not vexatious behavior, in and of itself, to justify a bond.

          The second Simulnet factor “is similar to the second factor under California Civil
  [Procedure] Code section 1030.” A. Farber & Partners, 417 F. Supp. 2d at 1148. Since
  Defendants have already succeeded on two claims and have a reasonable possibility—if not a
  greater possibility—of succeeding on others, as discussed above, this factor weighs heavily in
  favor of requiring a security.

          Consideration of the third and fourth factors—the reasonable extent of the security to be
  posted viewed from both sides’ perspectives—requires the Court to substantially reduce the
  amount Defendants seek. Defendants argue that Crytek is in severe financial distress. See Motion
  for Bond at 10-12. They cite to media reports that Crytek has, for some years, been teetering on
  the brink of insolvency. See Goldman Decl. [Doc. # 16], Ex. 2, 3. They also point to reports of
  Crytek’s downsizing and failure to make payroll. Id., Ex. 3, 4, 5. Further, Crytek experienced a
  62.3% revenue drop in 2015. Id., Ex. 9, 10 at 123. Revenue increased slightly in 2016, but Crytek
  had to take out and modify significant loans to remain solvent. Id., Ex. 11, 12. More reports
  surfaced that Crytek was unable to make payroll and had to close several production studios that
  year. Id., Ex. 13, 14. Defendants claim that Crytek has not filed financial reports for the years
  2017 or 2018, and Plaintiff does not dispute that fact. Indeed, Plaintiff does not dispute any of
  Defendants’ evidence indicating that Crytek is in financial trouble.

          While this evidence may bolster the justification for a bond, it also shows that the
  $2,193,298.45 Defendants request may not be reasonable when viewed from Plaintiff’s
  perspective. Courts must be careful not to “deprive a plaintiff of access to the federal courts” by
  forcing them to post an excessive bond. Simulnet, 37 F.3d at 575-76 (“toll-booths cannot be placed
  across the courthouse doors in a haphazard fashion.”). If Crytek is in as much distress as
  Defendants believe it is, requiring it to post a lump sum of over $2 million could push the company
  closer to financial ruin or effectively bar it from further participating in the suit.




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           Defendants claim that they have already spent $387,528.45 in attorneys’ fees on this matter
  and provide an estimate that they may incur an additional $1,592,937.50 over the course of the
  litigation. Goldman Decl. [Doc. # 57-16] at 7-8. Plaintiff disputes the reasonableness of both
  amounts, but does not provide the Court with a figure that it could reasonably post as a security—
  it requests only that “the required bond be substantially decreased” if the Court “find[s] a bond
  warranted.” Opp. at 16. Given the absence of such context, the Court shall require Crytek to post
  a bond in the amount of $500,000. Such an amount will protect the significant amount of fees that
  Defendants have already incurred, but will likely not jeopardize Plaintiff’s ability to continue its
  participation in the action.

                                               IV.
                                           CONCLUSION

          Accordingly, the Court GRANTS Defendants’ Motion for a Bond and ORDERS that
  Plaintiff post a bond in the amount of $500,000 within 30 days of the date of this Order. Plaintiff
  shall refer to Local Rules 65-2 through 65-10 to ensure proper compliance with this Order. See
  C.D. Cal. L.R. 65-2–65-10.

  IT IS SO ORDERED.




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